  

 

 

Case 2:19-cr-20478-DPH-DRG ECF No. 14 filed 02/13/20 PagelD.69 Pagelof3 b

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,

Plaintiff, Cr. No. 19-20478

Hon. Denise Page Hood

V.
D-1 ALEKSANDR GRICHISHKIN
D-2 ANDREI SK VORTSOV 1 b E
D-3 ALEKSANDR SKORODUMOV 0
D-4 PAVEL STASSI, FEB 13 20

Defendants Oe DETROIT

/
GOVERNMENT’S MOTION AND SUPPORTING BRIEF
TO SEAL FIRST SUPERSEDING INDICTMENT AND ARREST
WARRANTS
The United States of America hereby moves for an order sealing the First
Superseding Indictment and Arrest Warrants in this case and states:
1. The indictment in this case charges the Defendants with one or more federal
crimes.

2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure provides:

(4) Sealed Indictment. The magistrate judge to whom an indictment is
returned may direct that the indictment be kept secret until the defendant is
in custody or has been released pending trial. The clerk must then seal the
indictment, and no person may disclose the indictment’s existence except as

necessary to issue or execute a warrant or summons.

Fed.R.Crim.P. 6(e)(4).
 

   

Case 2:19-cr-20478-DPH-DRG ECF No. 14 filed 02/13/20 PagelD.70 Page 2 of 3

3. The government requests that the First Superseding Indictment and Arrest
Warrants be sealed because it is concerned that the Defendants may attempt
to flee, destroy evidence, or intimidate witnesses if the Superseding
Indictment and Arrest Warrants becomes a matter of public record before
the Defendants are arrested.

4. The government requests permission to disclose these materials to U.S.,
foreign, and intergovernmental authorities for the limited purposes of
extradition and with U.S.-based criminal defense attorneys representing the
Defendants while extradition is pending.

WHEREFORE, the government requests this Court to issue an order
   

Case 2:19-cr-20478-DPH-DRG ECF No. 14 filed 02/13/20 PagelD.71 Page 3of3

sealing the First Superseding Indictment and Arrest Warrants.

Dated: February 13, 2020

IT IS SO ORDERED.

Entered: V7 \B- LILO

Respectfully submitted,

Matthew Schneider
United States Attorney

bz

Patrick Corbett P41182
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226
patrick.corbett@usdoj.gov

(313) 226-9703

 

ALA Ai

\

Elizabelh\A. Stafford
United States Magistrate Judge

 

 
